  Case 2:97-cr-00878-SVW                    Document 168               Filed 06/14/18             Page 1 of 1 Page ID #:44
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                                      UNITED STATES DISTRIC                                 COURT
                                     CENTRAL DISTRICT OF CE                                 IFORNIA                                        ~
iJN1TED STATES OF AMERICA                                                 cnst~in~eER
                                                                                                                           FILEC
                                                                                                                             DISTRICT_~~n!!.~T
                                                                                                   CR97-0087 -SYG0.~RK, U.S.
                                                         Plaintiffs)
          ~~                    ~.
L MONT TYSHAWN TARKINGTON
                                                                                                                           N 1 4 'tUlB '~.
                                                                                                                                                 i
                                                                                                                                            ___J

                                                                                              ARRANT FOR                                        -'-^i~~P.
          ~~ ~~~                                       Defe~idant(s)                                                             7"-

   T0:            UNITED STATES MARSHAL AND ANY AUTHORIZE                                     UNfTED STATES OFFICER

   YOU ARE HEREBY COMMANDED to arrest                              LAMS T TYSHAWN TARKCNGTON
   and bring him/}per forthwith to the nearest I'vlagistrate Jude to ans~ er a(n}: ❑ Complaint Q Indic#went
   ❑ Information       Q Order of Court O Violation Petition                       ❑Violation Notice
   charging him/her with: (ENFER DESCRIPTION OF OFFENSE BELQWj


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   in violation of Title              ~s         United States Code, Sections)35 3 e 3

   Sherri R. arter
   h1AM"e Or'IS   ING OF ICER                                                    ~ ~            ~~ ~,r ~ Q~. ~~
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    Clerk f          u                                                                             J               ~~
   TITLE OF 55       O    ER         /                                           DAT AND LD    TION OF IS DANCE




                         CLERK                                                   NaME OF         OFFICER


                                                                  RETURN
   THIS WARRANT WAS RECEIVED AND EXECUTED W17H 7HE ARREST OF THE ABOVE-NAMED ~EFENDAN7 AT




   DATE RECEIVED                                                                 NAME OF AR        OFFICER
                                                gU~JECT           R~~TLD
   DATE OP RRRHST
                                                Al'(      I~N~D ON ~~
                                                   `              1N THP~
                                                CENTRAL DI    ICT
   DESCRIPTIVE INFDRMATtON FOR DEFENDANT
                                                OF CALIF.
   CON7AtNED ON PAGE TWO                                                         SIGMaTURE OF ~RREST4NG OFFICER



                                                         ~VARRANTFORARR~ST
                                                                                                                                      PaGEia2
CR-IZ (07104}
